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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                         )
                                                     )
                                Plaintiff,           )
                                                     )
                        v.                           )      No. 1:16-cr-02-JMS-TAB-3
                                                     )
   MICHAEL ANTONIO JOHNSON (03),                     )
    a/k/a MIKE G.,                                   )
                                                     )
                                Defendant.           )

                                   ENTRY FOR JULY 14, 2017


        On this date, Defendant MICHAEL ANTONIO JOHNSON appeared in person and by

 counsel, John D. Razumich, for a change of plea and sentencing hearing. The Government appeared

 by counsel, Michelle P. Brady, with its investigative agent Jake Hart from the ATF. Brittany Neat

 appeared on behalf of the United States Probation Office. The hearing was recorded by Court

 Reporter, Jean Knepley.

        After placing the Defendant under oath, the Court inquired of the Defendant whether the

 Defendant understood the rights that the Defendant would relinquish if the Court accepted the

 Defendant’s plea of guilty to Count 1 of the Second Superseding Indictment and the Defendant

 responded affirmatively. Evidence of a factual basis for the plea was accepted of record. The

 Court also conducted additional inquiry of the Defendant, and as a result of the information and

 testimony provided at the hearing the Court was satisfied that:


        •       the Defendant was fully competent and able to enter an informed plea,
        •       the Defendant’s plea was being made knowingly and voluntarily,

        •       the plea was supported by an independent basis in fact containing each of
                the essential elements of the offense charged.
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        The Court accepted the Plea Agreement pursuant to the Federal Rules of Criminal

 Procedure 11(c)(1)(B). The Court adjudged the Defendant guilty.

        The parties were heard with respect to the sentence and application of the Sentencing Guidelines.


         Pursuant to the Sentencing Reform Act of 1984, Sentence was imposed as stated on the
 record, including:
                    • Special Assessment: $100.00
                    • Incarceration: Count 1, 151 months – The Court recommends participation
                        in RDAP, parenting classes, and vocational training.
                    • Supervised Release: 3 years
                    • Fine: $0.00
                    • Forfeiture: N/A

        By reference to the PSR, and after the Defendant waived formal reading, the Court

 advised the Defendant that while he is on supervised release, he is to comply with the

 following conditions:


         •      You shall not commit another federal, state, or local crime.

         •      You shall cooperate with the collection of a DNA sample.

         •      You shall refrain from any unlawful use of a controlled substance and shall
                submit to one drug test within 15 days of placement on supervised release and
                two periodic tests thereafter, as directed by the probation officer.

        •       You shall report to the probation office in the district to which you are released
                within 72 hours of release from the custody of the Bureau of Prisons.

        •       You shall report to the probation officer in a manner and frequency directed by
                the court or probation officer.

        •       You shall permit a probation officer to visit you at a reasonable time at home, or
                another place where the officer may legitimately enter by right or consent, and
                shall permit confiscation of any contraband observed in plain view of the
                probation officer.

        •       You shall not knowingly leave the judicial district without the permission of the
                court or probation officer.


        •       You shall answer truthfully the inquiries by the probation officer, subject to your
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             5th Amendment privilege.

       •     You shall not meet, communicate, or otherwise interact with a person you know
             to be engaged, or planning to be engaged, in a criminal activity. You shall report
             any contact with persons you know to be convicted felons to your probation
             officer with 72 hours of the contact.

       •     You shall reside at a location approved by the probation officer and shall notify
             the probation officer at least 72 hours prior to any planned change in place or
             circumstances of residence or employment (including, but not limited to, changes
             in residence occupants, job positions, job responsibilities). When prior
             notification is not possible, you shall notify the probation officer within 72 hours
             of the change.

       •     You shall not own, possess, or have access to a firearm, ammunition, destructive
             device or dangerous weapon.

       •     You shall notify the probation officer within 72 hours of being arrested, charged
             or questioned by a law enforcement officer.

       •     You shall maintain lawful full time employment, unless excused by the probation
             officer for schooling, vocational training, or other reasons that prevent lawful
             employment.

       •     You shall make a good faith effort to follow instructions of the probation officer
             necessary to ensure compliance with the conditions of supervision.

       •     You shall provide the probation officer access to any requested financial
             information and shall authorize the release of that information to the U.S.
             Attorney’s Office for use in connection with the collection of any outstanding
             fines.

       •     You shall not use or possess any controlled substance prohibited by applicable
             state or federal law unless authorized to do so by a valid prescription from a
             licensed medical practitioner. You shall follow the prescription instructions
             frequency and dosage.

       •     You shall submit to substance abuse testing to determine if you have used a
             prohibited substance or to determine compliance with substance abuse treatment.
             Testing may include no more than eight drug tests per month. You shall not
             attempt     to   obstruct     or   tamper    with     the   testing    method.

       •     You shall submit to the search by the probation officer of your person, vehicle,
             office/business, residence and property, including any computer systems and
             hardware or software systems, electronic devices, telephones, and Internet-enable
             devices, including the data contained in any such items, whenever the probation
             officer has a reasonable suspicion that a violation of a condition of supervision or
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                 other unlawful conduct may have occurred or be underway involving you and that
                 the area(s) to be searched may contain evidence of such violation or conduct.
                 Other law enforcement may assist as necessary. You shall submit to the seizure
                 of contraband found by the probation officer. You shall warn other occupants
                 these locations may be subject to searches.

        •        You shall pay the costs associated with the following imposed conditions of
                 supervised release, to the extent you are financially able to pay: substance abuse
                 treatment, substance abuse testing, and mental health counseling.

        •        You shall pay to the United States a special assessment of $100. Payment of the
                 special assessment shall be due immediately and is to be made directly to the
                 Clerk, U.S. District Court.


        The Government orally moved to dismiss Count 14 of the Second Superseding Indictment.

 The Court GRANTED said motion and Count 14 is DISMISSED.

        The defendant is remanded to the custody of the U.S. Marshal.

        The proceedings were adjourned.




                    Date: 7/14/2017




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